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Abtdrneys for Plaintiff
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on > FOR THE CENTRAL DISTRICT OF CALIFORNIA
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NIZED STATES OF AMERICA, No. CR 11-762-PSG
Plaintiff, CRIMINAL DOCUMENT FILED UNDER SEAL
Vv. (UNDER SEAL)

JANETH BREWER,

Defendant.

 

 

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Attorneys for Plaintiff
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UNITED STATES

DISTRICT

COURT

POR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
JANETH BREWER,

Defendant.

 

 

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No. CR 11-762-PSG
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(UNDER SEAL)

 
 

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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CR No. 11-762-PSG
Plaintiff,
Vv.

JANETH BREWER, [UNDER SEAL]

Nee ee ee ee ee ee ee ee

Defendant.

 

The government hereby applies ex parte for an order that the lodged
Government’s Motion For Downward Departure For Substantial Assistance
Pursuant to USSG § 5K1.1 and Statement of Sentencing Position, as well

as this ex parte application, be filed under seal.

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GOVERNMENT'S EX PARTE APPLICATION
FOR ORDER SEALING DOCUMENTS ;
DECLARATION OF PAUL G. STERN
 

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This ex parte application is based on the attached declaration of
Paul G. Stern.

DATED: August 12, 2014

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Respectfully submitted,

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Acting United States Attorney

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Assistant United States Attorney
Chief, Criminal Division

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PAUL G. STERN

Assistant United States Attorney
Senior Litigation Counsel

Major Frauds Section

 

Attorneys for Plaintiff
UNITED STATES OF AMERICA
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DECLARATION OF PAUL G. STERN

 

I, Paul G. Stern, declare as follows:

1. I am an Assistant United States Attorney in the United States
Attorney's Office for the Central District of California. I represent
the government in this case.

2. The government requests leave to file the Government’s Motion
For Downward Departure For Substantial Assistance Pursuant to USSG §
5K1.1 and Statement of Sentencing Position relating to defendant JANETH
BREWER (“defendant”) in this matter under seal. Public disclosure of
defendant's identity as an individual who has cooperated with the
government in its investigation and prosecution of other individuals
would tend to expose defendant BREWER to unnecessary risks once she
begins serving whatever sentence is imposed in the above-entitled
matter. Granting the government’s request will tend to mitigate these
unnecessary risks to defendant BREWER.

3. Accordingly, the government requests that the Government's
Motion For Downward Departure For Substantial Assistance Pursuant to
USSG § 5K1.1 and Statement of Sentencing Position relating to defendant
and this application be filed under seal.

4. Should the court deny this application, the government
requests that the Government’s Motion For Downward Departure For
Substantial Assistance Pursuant to USSG § 5K1.1 and Statement of

Sentencing Position and this application not be filed, but

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be returned to the government, without the filing of documents or
reflection of the name or nature of the documents on the clerk's public
docket.

I declare under penalty of perjury that the foregoing is true and
correct to the best of my knowledge and belief.

DATED: August 12, 2014 jo C. TS

PAUL G. STERN

 
 

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CERTIFICATE OF SERVICE
I, YENI GOMEZ, declare:

That I am a citizen of the United States and a resident of or
employed in Los Angeles County, California; that my business address
is the Office of United States Attorney, 312 North Spring Street,
Los Angeles, California 90012; that I am over the age of 18; and
that I am not a party to the above-titled action;

That I am employed by the United States Attorney for the
Central District of California, who is a member of the Bar of the
United States District Court for the Central District of California,
at whose direction the service by mail described in this Certificate
was made; that on August 12, 2014 I deposited in the United States
mail at the United States Courthouse in the above-titled action, in
an envelope bearing the requisite postage, a copy of: GOVERNMENT’S
EX PARTE APPLICATION FOR ORDER SEALING DOCUMENTS; DECLARATION OF
PAUL G. STERN [UNDER SEAL]

service was:

kl Placed in a closed envelope L] Placed in a sealed envelope
for collection and inter- for collection and mailing via
office delivery, addressed as United States mail, addressed
follows: as follows:

[] By hand delivery, addressed as [ By facsimile, as follows:
follows:

[] By messenger, as follows: [] By electronic mail, as
follows:

Maytee Zendejas

U.S. Probation Office

21041 Burbank Blvd., Suite 200
Woodland Hills, CA 91367-6606

at their last known address, at which place there is a delivery
service by United States mail.

This Certificate is executed on August 12, 2014 at Los Angeles,
California. I certify under penalty of perjury that the foregoing
is true and correct. f

 

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